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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                            No. CR S-02-0079 FCD CHS P

12          vs.

13   WESLEY F. SINE,

14                  Movant.                   FINDINGS AND RECOMMENDATIONS

15                                        /

16                                            I. BACKGROUND

17                  Movant Wesley F. Sine is a federal prisoner proceeding pro se with a motion to

18   vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2254. Movant stands convicted

19   of mail fraud and is currently serving a sentence of 70 months in federal prison.

20                  In its opinion affirming the conviction and sentence on direct appeal, the Ninth

21   Circuit Court of Appeals summarized the factual and procedural history of movant’s case as

22   follows:

23                  Wesley Sine, a Utah lawyer, helped run a pyramid scheme that
                    defrauded victims of more than two million dollars. Sine's role in
24                  the scheme was to reassure individuals that they were lending
                    money to a legitimate real estate investor and that millions of
25                  dollars in legitimate collateral protected them in case of default...

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 1                  ... [Sine’s co-defendant] Panthaky masterminded a wildly
                    imaginative, bizarrely complex pyramid scheme in the late 1990s
 2                  and early 2000s: First, he convinced victims that they were lending
                    money to fund various real estate projects conducted by Alpha
 3                  Funding Group, Inc. (“Alpha”), of which Panthaky was president.
                    In making his pitch, Panthaky represented himself as a wealthy
 4                  international financier and humanitarian who had led Alpha to
                    great success, and promised potential “lenders” between twenty
 5                  and one hundred percent interest on short-term loans. Using this
                    persona and promise, Panthaky successfully solicited over five
 6                  million dollars in loans. “Lenders” would receive a promissory
                    note prepared by Sine as Alpha's lawyer and signed by Panthaky. In
 7                  fact, the money provided by these “lenders” funded no legitimate
                    projects. Instead, some of the money went to repay earlier
 8                  “lenders” so that the pyramid scheme could continue, and some
                    ended up in the personal coffers of Panthaky and his cohorts.
 9
                    To reassure the victims, Panthaky promised them that in case
10                  anything went wrong with Alpha's projects, they would be
                    protected by assets held in the Alpha Funding Group Trust (“Alpha
11                  Trust”). Sine was the trustee of Alpha Trust. In that capacity, he
                    prepared and signed security letters to victims explaining that he
12                  would liquidate the trust if Alpha defaulted on loans. Both Sine
                    and Panthaky stated on numerous occasions, including in the
13                  security letters, that the trust held $54 million in Ginnie Mae
                    securities.1
14
                    Almost always, the “lenders” were not repaid as promised and then
15                  experienced increasing difficulty in contacting Panthaky. Even
                    after receiving complaints that the loans were not repaid on time,
16                  Sine continued to tell the victims that Alpha was a legitimate
                    investment opportunity and had a track record of successful
17                  repayment of loans. When such excuses ran out and a “lender”
                    continued to press for repayment, Sine would then play hardball-
18                  by, for example, insisting that the promissory note did not allow
                    the “lender” to demand liquidation of the collateral or by
19                  instigating litigation against the “lender.”

20                  By 2000, under pressure from a growing number of unpaid victims,
                    Sine purported to attempt as trustee of Alpha Trust to liquidate the
21                  collateral, only to find out- for the first time, he maintained- that
                    the forms establishing the trust's ownership of the securities were
22                  worthless. That the forms were worthless was quite true: Such
                    forms could only transfer ownership of securities issued in paper
23                  format, but the Ginnie Mae securities referenced by Alpha Trust's
                    forms existed only in an electronic format. Moreover, Ginnie Mae
24                  had no record that Alpha Trust, Alpha, Sine, Panthaky, or the

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              Ginnie Mae securities are pools of mortgages aggregated and guaranteed by the federally
26   chartered Government National Mortgage Association (“Ginnie Mae”) and resold to investors.

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 1                  Delmarva Timber Trust (“Delmarva”)- the entity the defendants
                    claimed had transferred the securities to Alpha- ever owned any of
 2                  the securities referred to in the documents.

 3                  The main factual dispute at trial was whether Sine realized from
                    the outset, rather than only after the victims demanded access to
 4                  the collateral, that the supposed collateral was worthless. Sine
                    testified during trial that he had a good faith belief that the trust
 5                  legitimately owned the Ginnie Mae securities and made efforts to
                    verify their ownership at the time the trust was established. One
 6                  such effort, he represented, was a 1992 conversation with Jeffrey
                    Franklin, a Maryland banker whose signature appears on the
 7                  transfer forms. Sine also told the jury that when he learned in 2000
                    that the forms could not have transferred the securities, he entered
 8                  into negotiations with Don Meddles, the current trustee of
                    Delmarva, to obtain ownership of the securities. Sine ultimately
 9                  filed several lawsuits in Utah, naming Meddles and Delmarva as
                    defendants and supposedly seeking to recover the value of the
10                  securities...

11                  ...[T]he government indicted Sine in the Eastern District of
                    California for mail fraud pursuant to 18 U.S.C. § 1341. A
12                  superseding indictment was filed in September 2004. That
                    indictment alleged as the mail fraud a series of four letters sent in
13                  April and May 1999 between Clarence Trausch, a prospective
                    “lender,” and Renata Lee, an individual who was already a
14                  “lender” and whom the defendants had induced to seek out
                    additional participants. In February 2005, a jury convicted Sine and
15                  his co-defendant Panthaky after one hour of deliberations. The
                    judge sentenced Sine to seventy months in prison, which included
16                  an enhancement for lying during his trial testimony, and ordered
                    him to pay $2.29 million in restitution.
17

18   United States v. Sine, 483 F.3d 990, 992-995 (9th Cir. 2007).

19                                       II. ISSUES PRESENTED

20                  Movant claims that his conviction should be reversed for three reasons. First, he

21   asserts that the trial court lacked jurisdiction to impose judgment because he was never arraigned

22   on the superceding indictment filed by the government. He also claims that four material

23   witnesses have recanted their testimony and that a fifth committed perjury. Finally, movant

24   argues that his conduct as shown by the government’s case does not constitute a legally valid

25   basis for a mail fraud conviction. As set forth below, all the claims are without merit and no

26   evidentiary hearing is warranted.

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 1                                          III. APPLICABLE LAW

 2                  Section 2255 provides, in part, as follows:

 3                  A prisoner in custody under sentence of a court established by Act of
                    Congress claiming the right to be released upon the ground that the
 4                  sentence was imposed in violation of the Constitution or laws of the
                    United States, or that the court was without jurisdiction to impose such
 5                  sentence, or that the sentence was in excess of the maximum authorized by
                    law, or is otherwise subject to collateral attack, may move the court which
 6                  imposed the sentence to vacate, set aside or correct the sentence.

 7   28 U.S.C. § 2255. An evidentiary hearing will be warranted if the motion sets forth specific facts

 8   which, if true, entitle the movant to relief. See Jones v. Wood, 114 F.3d 1002, 1008 (9th Cir.

 9   1997); see also 28 U.S.C. §2255(b). Affidavits and other documentary evidence supplementing

10   the record may be considered before determining whether an evidentiary hearing is necessary.

11   United States v. Espinoza, 866 F.2d 1067, 1070 (9th Cir. 1988)

12                                            IV. DISCUSSION

13                  A.       Jurisdiction

14                  Movant contends that he was not arraigned on the superceding indictment filed by

15   the government in this case and that he never presented a plea to that indictment. He first

16   presented this claim on direct appeal to the Ninth Circuit Court of Appeals. In rejecting the

17   claim, the Ninth Circuit wrote in an unpublished opinion:

18                  This procedural lapse is not reversible error. “Vacating convictions
                    for lack of formal arraignment proceedings is predicated on the
19                  existence of possible prejudice. What is necessary is that defendant
                    know what he is accused of and be able adequately to defend
20                  himself.” United States v. Romero, 640 F.2d 1014, 1015 (9th
                    Cir.1981) (quoting United States v. Rogers, 469 F.2d 1317-18 (5th
21                  Cir.1972)) (citations and internal quotation marks omitted). Sine
                    cannot demonstrate prejudice from the failure to rearraign him. The
22                  superseding indictment narrowed, rather than broadened, the
                    allegation contained in the original indictment, so he had notice of
23                  and was arraigned on every allegation on which he was tried. So no
                    relief is appropriate on this ground.
24

25   United States v. Panthaky, 232 Fed. Appx. 645, 650 (9th Cir. 2007). Section 2255 may not be
26   invoked to relitigate issues already considered on direct appeal. Egger v. United States, 509 F.2d

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 1   745, 748 (9th Cir.) (cert. denied, 423 U.S. 842 (1975).). For the reasons stated by the Ninth

 2   Circuit, the district court was not without jurisdiction and petitioner is not entitled to relief on

 3   this claim.

 4                   B. Witness testimony

 5                   Movant contends that his conviction must be reversed because four material

 6   witnesses recanted their testimony and a fifth committed perjury. As set forth below, however,

 7   the allegations fail.

 8                           1.      Recanted testimony

 9                   At trial, Benson Duruaku, Renata Lee, Robert Newnam, and Clarence Trausch

10   testified that they would not have loaned money to Alpha Funding Group but for the

11   representations movant made about assets allegedly held by Alpha Trust. Movant alleges these

12   witnesses have recanted their testimony by claiming in civil litigation filed against a bank that

13   they would not have loaned the money to Alpha Funding but for the signature guarantees made

14   by a bank employee on various documents signed by movant. As support for his assertions,

15   movant has submitted a complaint filed by the four as plaintiffs in a civil action and their related

16   interrogatory responses. He points out that the complaint was recently dismissed with prejudice.

17                   Respondent is correct that the apparent positions taken by the witnesses in their

18   related civil litigation were not recantations. Saying that they would not have loaned money but

19   for the signature guarantee is a far cry from saying that they loaned money only because of the

20   signature guarantee, or that they did not also rely on movant’s representations. Movant has not

21   shown anything in the related civil litigation that is inconsistent with the testimony these

22   witnesses gave at trial. Moreover, the fact that the civil lawsuit was dismissed with prejudice is

23   no evidence of recantation.

24                           2.      Perjury

25                   Likewise, movant has not shown that Michael Wansten gave perjured testimony.

26   Wansten testified during the prosecution’s case that he loaned $30,000 to Alpha Funding on

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 1   promise of a 100% return ($60,000) in 90 days. (Reporter’s Trial Transcript (“RT”) vol. 1 at 37-

 2   39.) Wansten further testified that was never repaid any of the money owed him by Alpha

 3   Funding. (Id.) Movant has placed evidence before the court that Wansten received a $25,000

 4   from Alpha Funding in August of 1998. It also appears that a $5,000 wire transfer was made the

 5   following month to Wansten’s ex-wife.

 6                  In response to this court’s August 1, 2009 order, respondent has submitted a

 7   declaration signed by Wansten that, to the best of his recollection, the $25,000 check in question

 8   was money given to him by Panthaky for an expensive trip to Canada he and his wife took to

 9   meet with other potential investors. Wansten states that Panthaky encouraged them to fly first

10   class and entertain the potential investors at several expensive restaurants. Wansten states that

11   there was money leftover from the trip, which Panthaky directed him to keep. Wansten states

12   that he has no knowledge or recollection of the additional $5,000 payment allegedly made to his

13   ex-wife, stating that they were separated off and on during that period of time.

14                  The evidence admitted at trial supports the information contained in Wansten’s

15   declaration. For example, government’s exhibit (“GE”) 2.9 is a letter from Wansten to movant

16   dated January 29, 2000, more than a year after the alleged payments referenced by movant. In

17   that letter, Wansten writes:

18                  The general dissatisfaction with Dr. Panthakys [sic] conduct over
                    the last year as expressed to me by many of Alpha Funding
19                  Group’s creditors has caused me great concern with regard t[o]
                    repayment of my own note.
20
     (GE 2.9.) Later, in a letter dated May 2, 2000 to movant, Wansten wrote:
21
                    I am asking that you liquidate the collateral securing my loan and
22                  remit to me payment in full of $60,000 USD, being the total of my
                    outstanding Note secured by our loan agreement of July 1, 1998.
23

24   (GE 2.22.) Included with this letter (GE 2.22) was a “chronology” in which Wansten

25   summarized various communications he had with movant. In the chronology, Wansten made

26   numerous entries concerning referrals of other potential investors to movant during the time

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 1   period of July- September, 1998. (GE 2.22.) The chronology is supportive of Wansten’s

 2   assertion that the $25,000 was for a trip to meet with potential investors, and not for partial

 3   repayment of his note. The $25,000 check was dated August 19, 1998, within the time frame

 4   Wansten was apparently making referrals. Wansten was not even due to be repaid on his 90 day

 5   investment until late September or early October. (See Supplemental Excerpt of Record v.1 at 7

 6   (Wansten testifying that he sent the money for the note “before July [1998] or in the early part of

 7   July [1998]”.) Additionally, according to the chronology, Wansten continued to request

 8   repayment of the full amount owed long after he had received the alleged payments referenced by

 9   movant. (GE 2.9 & 2.22.)

10                  Finally, it is telling that despite the fact that movant signed the $25,000 check and

11   thus should have been aware that such payment was made, he testified at trial that Wansten was

12   not repaid for his investment:

13          Q (government): Has Mr. Wansten been paid?

14          A (movant): Not to my knowledge.

15   (RT vol. 7 at 176.) Based on all the foregoing, there appears no need for an evidentiary hearing.

16   The motion, file, and records of the case, considered in conjunction with Wansten’s declaration,

17   demonstrate that movant is not entitled to relief on this claim.

18                  C. Movant’s conduct as a valid basis for mail fraud

19                  This is another claim that movant has already raised and lost on direct appeal.

20   Citing Miller v. Yokohama Tire Co., 358 F.3d 616, 620-21 (9th Cir. 2004), he argues that his

21   conduct, as shown by the prosecution, did not constitute fraud. Specifically, he asserts that the

22   government only showed that he made his legal misrepresentations, as opposed to factual

23   misrepresentations, and that legal misrepresentations are not a valid basis for a mail fraud

24   conviction. The Ninth Circuit rejected the argument, writing:

25                  Sine maintains that the government's evidence proved only that he
                    made a misrepresentation of law by representing that various
26                  documents held by the trust were sufficient to establish ownership

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 1                  of the Ginnie Mae securities. A mail fraud conviction usually
                    cannot be premised on misrepresentation of law, Miller v.
 2                  Yokohama Tire Corp., 358 F.3d 616, 620-21 (9th Cir.2004), but that
                    is not always true. Rather, there are “special situations that would
 3                  justify reliance on such a misrepresentation of law,” and that can
                    therefore give rise to a mail fraud conviction. Id. at 621. As Sine's
 4                  interactions with the victims of the fraud came in his capacity as a
                    lawyer, this case involves at least one of those “special situations”-
 5                  instances in which the party making the misrepresentation “purports
                    to have special knowledge” of the law. Id. ; see also Restatement
 6                  (Second) of Torts § 545 cmt. d (1977) (“The layman may justifiably
                    rely on the lawyer's opinion even though he knows the lawyer is
 7                  representing a client whose interest is adverse to his own.”). The
                    government's evidence indicated that Sine knew of the falsity of his
 8                  representations regarding the securities' validity and that he was not
                    merely giving bad, but dishonest, advice. Cf. Restatement (Second)
 9                  of Torts § 545 cmt. d (“The layman may ... reasonably assume
                    professional honesty.”).
10
                    Moreover, the government's evidence about the Ginnie Mae
11                  securities was not limited to misrepresentations about the legal
                    effect of the documents. The government also presented evidence
12                  that Sine misrepresented facts about the trust's ownership of the
                    securities. Such misrepresentation of facts can form the basis of
13                  fraud even when intertwined with a misrepresentation of law.
                    Miller, 358 F.3d at 621.
14

15   United States v. Panthaky, 232 Fed.Appx. 645, 648, (9th Cir. 2007). Movant is not entitled to
16   relief.
17                                           IV. CONCLUSION
18                  For all the foregoing reasons, IT IS HEREBY RECOMMENDED that movant’s
19   motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. §2255 be DENIED.
20                  These findings and recommendations are submitted to the United States District
21   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within twenty
22   days after being served with these findings and recommendations, any party may file written
23   objections with the court and serve a copy on all parties. Such a document should be captioned
24   “Objections to Magistrate Judge’s Findings and Recommendations.” Any reply to the objections
25   shall be served and filed within ten days after service of the objections. The parties are advised
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 1   that failure to file objections within the specified time may waive the right to appeal the District

 2   Court’s order. Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).

 3   DATED: June 9, 2009
 4
                                            CHARLENE H. SORRENTINO
 5                                          UNITED STATES MAGISTRATE JUDGE
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